Case 2:07-cr-00150-LRS   ECF No. 307   filed 08/12/08   PageID.1003 Page 1 of 6
Case 2:07-cr-00150-LRS   ECF No. 307   filed 08/12/08   PageID.1004 Page 2 of 6
Case 2:07-cr-00150-LRS   ECF No. 307   filed 08/12/08   PageID.1005 Page 3 of 6
Case 2:07-cr-00150-LRS   ECF No. 307   filed 08/12/08   PageID.1006 Page 4 of 6
Case 2:07-cr-00150-LRS   ECF No. 307   filed 08/12/08   PageID.1007 Page 5 of 6
Case 2:07-cr-00150-LRS   ECF No. 307   filed 08/12/08   PageID.1008 Page 6 of 6
